1. Where an executor advertised personal property for sale, and a legatee, claiming a life interest and the right of possession in the property, filed in the court of ordinary a claim, which was transferred under terms of the law to the superior court, and where the claimant filed an amendment to the claim in the nature of an ancillary petition, attaching a copy of the will on the terms of which title was based, and praying for a construction of the will, to which a demurrer was filed, a decision on the demurrer necessarily construed the terms of the will, and gives to this court jurisdiction of a review thereof.
2. Where a testator, by a provision in his will, devised the "income" to his wife and sister, or the survivor, for life, with an expressed desire that the buildings and premises be kept in a good state of repair to be paid for out of the income, that the wife during her lifetime be permitted to occupy the home place without accounting to the sister, and that at the death of the survivor the executor sell the property and distribute the proceeds to designated remaindermen; and where the will, construed as a whole, contained no devise to the executor — in a contest between the executor and the sister, after the death of the wife, over the right to possession of the property, the trial court in a ruling on demurrer, the effect of which was to award the possession of the property to the sister, properly construed the terms of the will.
3. The averments in the answer that the testator had adeemed or satisfied the legacy by executing a note which was accepted in satisfaction of the legacy, and that the note had been paid by the executors, were allegations of fact and were not subject to demurrer as being conclusions of the pleader.
4. Where a testator, after having executed a will giving his sister a life-estate in his property, thereafter made a contract with her, pursuant to which he gave her a note and took from her a receipt, the effect of which was, that payment of the note should be in full settlement of her interest in his estate, and subsequently died without having paid the note, and after his will was probated his executor paid the note, and the sister accepted such payment, the contract became executed, ratified, and settled, and the sister had no further interest in the estate.
5. The court, in a contest between the executor and the sister involving the property of the estate, erred in directing a verdict in favor of the sister.
     Nos. 14939, 14941. SEPTEMBER 9, 1944. REHEARING DENIED OCTOBER 13, 1944. *Page 429 
W. M. Wilson executed a will on May 20, 1939, and died on April 9, 1942. Items 1 and 2 of the will provided for burial and the payment of debts. Item 3 provided: "I will, bequeath, and devise the income from all of my property, both real and personal of whatever kind or wherever situated, to my wife, Mrs. Malvia Wilson, and to my sister, Cecil Wilson, share and share alike for and during their natural lives; upon the death of my said wife or sister, then the proceeds from the entire estate is to go to such surviving wife or sister, as the case may be, for and during her natural life. It is my will and desire that the buildings and premises be kept in a good state of repair and to be paid for out of the income or proceeds from said estate, and remainder of said income or proceeds to be distributed as aforesaid; and that my wife during her lifetime be permitted to occupy the home place rent free and without accounting to my sister if she so desires." Item 4 provided: "At the death of such surviving wife or sister, as the case may be, and as referred to in item 3 hereof, it is my will and desire that all of my property, both real and personal, or the remainder after the estates provided for in item 3 hereof have terminated, be sold by my executors hereinafter named and appointed, and the proceeds of said sale be divided and distributed as follows: [Then followed direction for the payment of four special legacies, which included $500 to the executors to be held in trust, and used in the upkeep of two named cemeteries.] If there is any money remaining, after deducting the above amounts as aforesaid, I give and bequeath the same to the Bob Jones College, Cleveland, Tennessee, to Asbury College, Wilmore, Kentucky, and to the Methodist Children's Home, Decatur, Georgia, share and share alike." The testator in item 5 appointed his wife, Mrs. Malvia Wilson, and J. W. C. Roberts as executors, and required that they give good and sufficient bond and receive compensation for their services as provided by law. The will was probated in common form.
Cecil Wilson filed, in the court of ordinary, a claim to a described automobile which was being advertised for sale as the property of the estate, but which the claimant alleged had been bequeathed to her for life. After the claim case had been transmitted *Page 430 
to the superior court of Gordon County, as required by the Code, § 113-1803, the claimant filed an ancillary petition in aid of her claim, which as several times amended alleged substantially the following: Both of the nominated executors qualified, but Mrs. Malvia Wilson died on April 9, 1943, and since that time Roberts has had sole control of the estate. Under the will the petitioner was entitled to a life interest in one-half of the estate during the life of Mrs. Wilson and the entire life interest after her death, but Roberts has retained all of the proceeds and income from the property, retained all the personal property, contends that the petitioner has no interest in the estate, is threatening to sell the real estate, and, unless he is restrained, the petitioner will have to file claim after claim, and for this reason is entitled to file this her equitable amendment and have all her rights adjudicated in one action. More than twelve months have expired since the will was probated, but Roberts has refused to turn over the assets of the estate to the petitioner, the owner of the same for and during her life. The petitioner is not seeking to have the title to the lands adjudicated, but is simply asking that the executor be required to turn over to her the possession of whatever property the testator died seized and possessed of in order that she may enjoy a life-estate under the will. There is no necessity for the executor to sell the automobile, nor any of the other property devised to the petitioner for life. The prayers in part were: that the court by proper decree construe the will, that an order issue requiring the residuary beneficiaries to interplead, and that the executor be required instanter to turn over to the petitioner all of the property belonging to the estate.
The executor demurred generally to the claim as amended, and moved to dismiss the same on the ground, among others: "Because it was the manifest intention of the testator, as shown by his will, a copy of which is attached to the claimant's petition, that the executors named and appointed by him should retain possession of the property of the estate and preserve the corpus of the same for the benefit of the residuary legatees." A similar demurrer was interposed by the Methodist Children's Home. The court overruled each of the demurrers, and exceptions pendente lite were filed to these rulings.
The executor filed an answer, in which, among other things, he *Page 431 
overred: that under the provisions of item 3 of the will, it was incumbent upon the executors to keep the buildings and premises in a good state of repair and to pay for such repairs from the income or proceeds of the estate, making provision for the distribution of the remainder of such income to be distributed as provided in the will. He has not turned over to the petitioner any of the proceeds of the estate for the reason that the testator in his lifetime had adeemed or satisfied the legacy in favor of the petitioner by executing and delivering to her a promissory note in the sum of $1000, which was accepted by her in satisfaction of her legacy under the will, and the note, with interest thereon, has been paid by the executors. If upon the hearing it is determined that the legacy has not been adeemed and satisfied, the respondent stands ready to turn over the income from the estate to the petitioner under such orders as may be issued by the court. A copy of the will was attached to the answer as an exhibit, and a copy of the receipt for the note referred to in the answer was attached to the will. The answer was amended by attaching a copy of the note. The Methodist Children's Home and the other residuary legatees also filed answers.
Demurrers interposed by the petitioner to the separate answers of the executor and the Methodist Children's Home were overruled, and the petitioner excepted pendente lite.
On the trial the petitioner introduced the will in evidence. The following documentary evidence, offered by the defendants, was then admitted without objection: First, a receipt: "July 10, 1939. Received of [testator] one note for $1000 . . payable on January 1, 1940, and when this note is paid I have received all that I am to receive out of his estate and am not to receive any of the income of his estate after his death as provided in his will as this is in place of it. [Signed] Cecil Wilson." Second, a note dated July 11, 1939: "On the first day of January, next, I promise to pay to the order of Cecil Wilson, $1000. . . This note is given for services rendered to me and my son, deceased, by the one this note is given to and when this note is paid it is payment in full of all demands against me, and [the payee] will not be entitled to share in any income of my property after my death." The note was signed by the testator, and shows a cash payment of $160 made during his lifetime, and a payment of $1018.01 made after *Page 432 
the testator died. Third. "A check drawn on the Calhoun National Bank, dated June 16, 1942, payable to the order of Cecil Wilson [for] $1018.01, and signed by J. W. C. Roberts, executor of the last will and testament of W. M. Wilson, deceased; showing the check paid on June 29, 1942."
J. W. C. Roberts, the executor, testified that when the will was turned over to him, he found the receipt attached to the will. After qualifying as executor he learned that the note had been given to the petitioner, and she said she would rather have the note paid than to have a half interest in the estate, and he paid the note. The check introduced in evidence was given in settlement of the note.
At the conclusion of the evidence the court directed a verdict for the petitioner. The defendants filed a motion for new trial, which was amended by adding two special grounds, complaining that the court erred in directing a verdict because there were issues of fact which should have been submitted to the jury. The motion was overruled. The defendants excepted to this ruling, and also assigned error on their exceptions pendente lite. The petitioner filed a cross-bill of exceptions, assigning error on her exceptions pendente lite, complaining that the court erred in overruling the demurrers to the defendants' answers.
(After stating the foregoing facts.) 1. The Supreme Court has jurisdiction in all cases involving the construction of wills. Code, § 2-3005. But if the construction of a will is only incidently involved, this alone would not give this court jurisdiction. Reece v. McCrary, 179 Ga. 812
(177 S.E. 741); Trust Company of Georgia v. Smith, 182 Ga. 360
(185 S.E. 525); Hicks v. Wadsworth, 184 Ga. 681
(192 S.E. 729); McDowell v. McDowell, 194 Ga. 88 (20 S.E.2d 602). In the instant case, after the executor advertised the automobile for sale, a claim was interposed in the court of ordinary, under the Code, § 113-1803, and was transmitted to the superior court as therein provided. An affidavit as a basis of a claim to personal property, under the Code, § 39-801, is amendable to the same extent as ordinary petitions. § 81-1203. After the claim had been transferred to the superior court, the legatee filed an amendment in the nature *Page 433 
of an ancillary petition, alleging that, in virtue of the provisions of the will, a copy of which was attached, she was entitled to the possession of the property comprising the estate, and that the executor refused to deliver the same to her. She invoked a construction of the will. Whether she was entitled to the possession, could only be determined by a construction of the terms of the will. In passing upon the demurrer of the executor, it became necessary to construe the will, and therefore this court has jurisdiction under the Code, § 2-3005. Morrison v.McFarland, 147 Ga. 465 (5) (94 S.E. 569); Maneely v.Steele, 147 Ga. 399 (94 S.E. 227); Clay v. Clay,149 Ga. 725 (2) (101 S.E. 793).
2. The Code, § 113-805, provides: "An unconditional gift of the entire income of property, or interest accruing from a fund, shall be construed into a gift of the property or fund, unless the provisions of the will require a more limited meaning." Approaching a construction of this will in view of the foregoing Code section, we find that, by the use of the word "income," the legatee would have the right to the possession of the estate for life, unless from the terms of the will an intention of the testator to qualify, limit, or withhold its possession is denoted. A tenant for life shall be entitled to the full use and enjoyment of the property. Code, § 85-604. It is insisted by the executor that the testator limited the interest of Mrs. Malvia Wilson and Cecil Wilson to the income only, the executor to retain possession of the property and distribute the net income; and that such intention is manifested by having required a bond of the executor, and by providing "that the buildings and premises be kept in a good state of repair and to be paid for out of the income or proceeds from said estate, and remainder of said income or proceeds to be distributed as aforesaid;" also, by reason of the will having provided for a sale of the property by the executor after the death of both Mrs. Malvia Wilson and Cecil Wilson, and a distribution to certain designated remaindermen.
We do not concur in this interpretation. The fact that the testator required a bond of the executor would give slight if any credence to this construction. Ordinarily, an executor is not required to give bond (Code, § 113-1216); but where he makes specific provision therefor, it would not signify an intent to expand or enlarge the rights or duties of the executor. While the will provides that *Page 434 
the buildings and premises are to be kept in a good state of repair, which is to be paid for from the income or proceeds from the estate, yet there is no intimation that is to be done by the executor. This is nothing more than a provision for the upkeep and preservation of the property as a condition attached to receiving and enjoying the income therefrom. Nor is such contention confirmed by reason of the direction in the will that, at the death of the survivor of Mrs. Malvia Wilson and Cecil Wilson, the property is to be sold by the executor and the remainder distributed in fee to certain legatees. "A power of sale may lawfully reside in one who has no legal or equitable interest in the property which is to be the subject of a sale."Coleman v. Cabaniss, 121 Ga. 281 (48 S.E. 927). "Upon the assumption that the division is to be made by the executor, still the authority to divide . . is but a naked power uncoupled with an interest, and in the absence of a devise to the executor, or words of implication, he has no right to the possession and control of the estate intermediate the period for division."Thomas v. Owens, 131 Ga. 248, 258 (62 S.E. 218).
Looking at other parts of the will, we find provisions more indicative of an intent to give the possession to those enjoying the income rather than to the executor. In the last portion of item three, it is provided that the testator's wife "be permitted to occupy the home-place rent-free and without accounting to my sister if she so desires." It is to be noted that the wife was relieved from accounting to the sister, not to the executor. Also, in the fourth item of the will, in making provision for the disposition of the property after the death of the wife and sister, the interest conveyed to them is referred to as an estate, by the use of the expression, "after the estates provided for in item 3 hereof have terminated."
Aside from the particular expressions from which the intent of the testator may be gathered, and construing the will as a whole, we rule that the giving of the income to the wife and sister for life, in the absence of any devise of an interest to the executor, necessarily gave to them the right of possession. This ruling is controlled by the decision in Thomas v. Owens, supra, where, in a will very similar to the one now under consideration, the gift of the income was construed as including possession. The executor seeks to differentiate that case from the instant one because there *Page 435 
the executor was not required to sell and distribute the property at the death of the party receiving the income, as is provided in the will now under construction. This fact would not differentiate that case. Our Code makes provision for this situation. Section 85-709 provides: "The assent of the executor to a legacy to the tenant for life inures to the benefit of the remainderman. Remainderman, at the termination of the life estate, may take possession immediately. If, however, the will provides for a sale or other act to be done for the purpose of, or prior to, a division, the executor may recover possession for the purpose of executing the will." We find a reiteration of the above construction in Armstrong Junior College Commission v.Livesey, 189 Ga. 825, 828 (7 S.E.2d 678, 132 A.L.R. 1063), where it is stated: "The words `life-estate,' `estate' during spinsterhood, and `remainder' are nowhere used in the will, but their absence does not affect the character of the estates created, if estates for life or spinsterhood and an estate in remainder result from the language used. While the giving clause refers only to `income,' this is sufficient to carry an estate in the realty itself. Code, § 113-805." The court did not err in overruling the demurrer of the plaintiff in error.
3. The averments in the answer that the testator in his lifetime had adeemed or satisfied the legacy of the petitioner by executing and delivering to her a promissory note in the sum of $1000, which was accepted by her in satisfaction of her legacy under the will, and that the note had been paid by the executors, were allegations of fact, and were not subject to demurrer as being merely conclusions of the pleader. Accordingly, the trial judge did not err in overruling the demurrers interposed by the defendant in error as complained of in her cross-bill of exceptions.
4. The next question presented is whether the court erred in directing a verdict for Cecil Wilson. The executor in his answer averred that he had not turned over to the petitioner any proceeds of the estate because the testator in his lifetime had adeemed or satisfied the legacy in her favor by executing and delivering to her a promissory note in the sum of $1000, which she accepted in satisfaction of the legacy, and because the note, with interest thereon, had been paid by the executor. The note, the receipt therefor, and the cancelled check were introduced in evidence, and are set forth in detail in the above-stated facts. The note and receipt each *Page 436 
stated that it would become effective "when this note is paid," and the evidence showed the note was not paid until after the death of the testator. If Cecil Wilson, during the life of the testator, accepted the note which provided, "when this note is paid it is payment in full of all demands against me and [she] will not be entitled to share in any income of my property after my death," and gave a receipt therefor wherein it is stated, "when this note is paid I have received all that I am to receive out of his estate and am not to receive any of the income of his estate after his death as provided in his will as this is in place of it," and subsequently, after the death of the testator, collected this note in full from the executor, it would be unconscionable for her, after receiving full payment of the note, to enjoy at the same time the fruits of the estate. This will was executed on May 20, 1939; the receipt on July 10, 1939; the note on July 11, 1939; and the testator died on April 9, 1942. If this note was given and accepted with the intent to settle the interest of Cecil Wilson under the will of W. M. Wilson, which at that time had been executed and subsequently was probated, and after the death of the testator Cecil Wilson received payment of the note from the executor, the contract became executed, ratified, and settled. It is not necessary to classify or denominate in legal phraseology the exact definition of such a transaction; or to determine the rights of the executor and Cecil Wilson under the terms of such a contract if it was executory, or what would have been the effect of this conduct had the note been an unconditional contract in writing, rather than containing a condition to become effective "when this note is paid;" or the legal effect of the transaction had the note been paid during the lifetime of the testator. These questions are not here involved. The receipt makes reference to the will, and is dated one day before the date of the note. While the note makes no specific reference to the existence of a will, it is payable to Cecil Wilson and states, "when this note is paid it is payment in full of all demands against me and will not be entitled to share in any income of my property after my death."
5. The court erred in directing a verdict, because the evidence did not demand it. Code § 110-104.
Judgment reversed on the main bill of exceptions, andaffirmed on the cross-bill. All the Justices concur. *Page 437 
                        ON MOTION FOR REHEARING.
The defendant in error insists that, both sides having made a motion to direct a verdict, neither party can complain that the court erred in directing a verdict. In support of this contention, Mims v. Johnson, 8 Ga. App. 850 (70 S.E. 139), and Groover v. Savannah Bank  Trust Co., 60 Ga. App. 357
(3 S.E.2d 745), are cited. Each of those cases is based on a "consent" or an "agreement" that a verdict be directed. In the instant case, the attorney for the claimant moved for a directed verdict, and the attorney for the executor made a similar motion. The fact that, upon the trial, each party moves for the direction of a verdict in his favor does not, without more, amount to a consent by both parties that the case should be disposed of by the direction of a verdict for one side or the other. Riley v.London Guaranty  Accident Co., 27 Ga. App. 686 (2) (109 S.E. 676); Gross v. Butler, 48 Ga. App. 750 (5) (173 S.E. 866); Laurens Glass Works v. Childs, 49 Ga. App. 590 (5) (176 S.E. 665); Broadhurst v. Hill, 137 Ga. 833, 841
(74 S.E. 422).